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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

JOHN DOE,                                         )
                                                  )
                          Plaintiff,              )
                                                  )      Case No. 1:18-cv-07429
                                                  )
THE UNIVERSITY OF CHICAGO and                     )      Honorable Virginia M. Kendall
JANE ROE,                                         )
                                                  )
                          Defendants.             )



                           NOTICE OF WITHDRAWAL OF COUNSEL

         PLEASE TAKE NOTICE that Katelan Little of Husch Blackwell LLP hereby withdraws

her appearance for Defendant University of Chicago in the above-captioned matter. Scott L.

Warner and the law firm of Husch Blackwell LLP will continue as counsel of record.

Dated: July 12, 2019                              Respectfully submitted,

                                                  HUSCH BLACKWELL LLP




                                                  By: /s/ Katelan Little




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                               CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that she caused a copy of the foregoing

NOTICE OF WITHDRAWAL OF COUNSEL to be served on the attorney of record listed

below by filing the foregoing electronically using the CM/ECF filing system on this 12th day of

July, 2019.


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                                                          /s/ Katelan E. Little
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